IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

TROVIS R. jenes

(Write the full name of each plaintiff who is filing
this complaint. If the names of all the plaintiffs
cannot fit in the space above, please write “see
attached” in the space and attach an additional

page with the full list of names.)

-against-

Bue Coan Ret L1.¢ §

Other Parties usta

(Write the full name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

Complaint for a Civil Case

Case No. NB 2 3CV 2739

(to be filled in by the Clerk’s Office)

O Yes OO No
(check one)

Jury Trial:

FILED ENTERED
LOGGED, RECEIVED

OCT 06 2023

AT BALTIMORE
CLERK, U.S. DISTRICT CO1!?*
DISTRICT OF MARYLAN:
WEPUTY
About These Forms

In General. This and the other forms available from uscourts.gov websites illustrate
some types of information that are useful to have in complaints and some other pleadings.
The forms do not try to cover every type of case. They are limited to types of cases often
filed in federal courts by those who represent themselves or who may not have much
experience in federal courts.

Not Legal Advice. No form provides legal advice. No form substitutes for having or
consulting a lawyer. If you are not a lawyer and are suing or have been sued, it is best to
have or consult a lawyer if possible.

No Guarantee. Following a form does not guarantee that any pleading is legally or
factually correct or sufficient.

Variations Possible. A form may call for more or less information than a particular
court requires. The fact that a form asks for certain information does not mean that every
court or a particular court requires it. And if the form does not ask for certain
information, a particular court might still require it. Consult the rules and caselaw that
govern in the court where you are filing the pleading.

Examples Only. The forms do not try to address or cover all the different types of
claims or defenses, or how specific facts might affect a particular claim or defense. Some
of the forms, such as the form for a generic complaint, apply to different types of cases.
Others apply only to specific types of cases. Be careful to use the form that fits your case
and the type of pleading you want to file. Be careful to change the information the form
asks for to fit the facts and circumstances of your case.

No Guidance on Timing or Parties. The forms do not give any guidance on when
certain kinds of pleadings or claims or defenses have to be raised, or who has to be sued.
Some pleadings, claims, or defenses have to be raised at a certain point in the case or
within a certain period of time. And there are limits on who can be named as a party in a
case and when they have to be added. Lawyers and people representing themselves must
know the Federal Rules of Civil Procedure and the caselaw setting out these and other
requirements. The current Federal Rules of Civil Procedure are available, for free, at
www.uscourts.gov.

Privacy Requirements. Federal Rule of Civil Procedure 5.2 addresses the privacy and
security concerns over public access to electronic court files. Under this rule, papers filed
with the court should not contain anyone’s full social-security number or full birth date;
the name of a person known to be a minor; or a complete financial-account number. A
filing may include only the last four digits of a social-security number and taxpayer
identification number; the year of someone’s birth; a minor’s initials; and the last four
digits of a financial-account number.

I.

The Parties to This Complaint

A.

The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name TRON'IS R Jones
Street Address P.O. Bey 343
City and County College Par We ee vate

State and Zip Code Marg land _, 2ofF4|/

Telephone Number _@40. 462. S¥Tb

E-mail Address Me. Travis. R.Jjoneec@ gmaslam

The Defendant(s)

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

Name Buse Coan Kelty LLC

Job or Title

(if known)

Street Address 1001 Anon Fork Rend

City and County Bautimore Cty, Ratsumore City

State and Zip Code Mary land LBILG
Telephone Number 4/0 . 04%. £300

E-mail Address

(if known)
Defendant No. 2

Name CrKklee Village Batsimore LLC
Job or Title

(if known)
Street Address F3BDD  Crark? lane Ste +# laod

City and County Balimee Gy _ Baltimore Oty

State and Zip Code Maryland 225
Telephone Number

E-mail Address

(if known)

Defendant No. 3

Name

Job or Title

(if known)
Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address

(if known)

Defendant No. 4

Name

Job or Title

(if known)
Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address

(if known)

(If there are more than four defendants, attach an additional page
providing the same information for each additional defendant.)

II.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in federal court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
under the United States Constitution or federal laws or treaties is a federal question case.
Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
case. In a diversity of citizenship case, no defendant may be a citizen of the same State
as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

C) Federal question O Diversity of citizenship
Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United
States Constitution that are at issue in this case.

Fair Housing Act Seetion 804 [427 US. C F264

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)

a. If the plaintiff is an individual

The plaintiff, (name) , is a citizen of
the State of (name)

b. If the plaintiff is a corporation

The plaintiff, (name) , Is incorporated
under the laws of the State of (name) ;
and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff.)

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2

The Defendant(s)

a.

If the defendant is an individual

The defendant, (name) , is a citizen of
the State of (name) . Orisa citizen of
(foreign nation)

If the defendant is a corporation

The defendant, (name) , 1S
incorporated under the laws of the State of (name)

, and has its principal place of
business in the State of (name) . Oris
incorporated under the laws of (foreign nation)

, and has its principal place of

business in (name)

(If more than one defendant is named in the complaint, attach an
additional page providing the same information for each additional
defendant.)

The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant
owes or the amount at stake—is more than $75,000, not counting interest

and costs of court, because (explain):

Il.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph. Attach
additional pages if needed.

Puase See attached timeline of aunts that accutrey.

IV.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive money damages. For any request for injunctive relief, explain why
monetary damages at a later time would not adequately compensate you for the injuries
you sustained, are sustaining, or will sustain as a result of the events described above, or
why such compensation could not be measured.

Pefendanis_violated my vil _rrghts 1h _obtarung pousing

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an

improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the

cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the

complaint otherwise complies with the requirements of Rule 11.

A.

For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: [2} OG, 2023
Signature of Plaintiff <#if. —

7
Printed Name of Plaintiff TRAVIS R. Jones

(If more than one plaintiff is named in the complaint, attach an additional
certification and signature page for each additional plaintiff.)

For Attorneys

Date of signing: ,20__

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Address

Telephone Number
Email Address

